
651 So.2d 273 (1995)
Tony RICHARD &amp; Vinnell Richard
v.
Dr. Lilith S. WIJAYASURYIA, M.D., Dr. James Harrell, M.D., Dr. Viju (Vidyadhar) Akkaraju, M.D., Lafayette Radiology Associated, Lafayette General Medical Center, Dr. Steven Snatic, M.D., Dr. Robert Rivet, M.D., and Dr. Jack Hurst, M.D., &amp; Winthrop Pharmaceuticals, etc.
No. 95-C-0158.
Supreme Court of Louisiana.
March 17, 1995.
Denied.
LEMMON, J., not on panel.
